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UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
            NOTICE OF PRESENTATION OR WAIVER OF ORAL ARGUMENT


MDL No. _______
         2783   & TITLE - IN RE: Prevagen Products Marketing and Sales Practices Litigation

1.     Oral Argument – Check ONE of the following boxes:

               ✔     The attorney designated below shall PRESENT ORAL ARGUMENT at the Panel
                     hearing session on behalf of the designated party or parties. (Note: All attorneys
                     presenting oral argument should be mindful of Panel Rule 11.1(d)(i), which states
                     that:

                             Absent Panel approval and for good cause shown, only those parties to
                             actions who have filed a motion or written response to a motion or order
                             shall be permitted to present oral argument.

                     Also note that Rule 11.1(e) requires counsel with like positions to confer prior to
                     oral argument for the purpose of selecting a spokesperson to avoid duplication
                     during oral argument.)

                     The party or parties listed hereafter will WAIVE ORAL ARGUMENT pursuant to
                     Rule 11.1(b)(i). (Note: A party waiving oral argument need not appear at the
                     hearing session, through counsel or otherwise.)

                     The party or parties listed hereafter will WAIVE ORAL ARGUMENT IF ALL
                     OTHER PARTIES IN THIS MATTER WAIVE ORAL ARGUMENT; otherwise,
                     the attorney designated below shall present oral argument at the Panel hearing
                     session on behalf of the designated party or parties pursuant to Rule 11.1. (Note:
                     In the event of a global waiver, the parties and their counsel need not attend the
                     hearing session.)

2.     Position on Centralization – Check ONE of the following boxes:

                     Support Centralization

              ✔      Oppose Centralization

                     Other ____________________________________________________________

3.     Position on Transferee District. If you SUPPORT Centralization or if you OPPOSE
       centralization but ALTERNATIVELY SUPPORT Centralization in a particular venue(s),
       if the Panel orders centralization over your objections, indicate your proposed transferee
       district(s) here:

       ________________________________________________________________________
       U.S. District Court for the Southern District of New York
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4.    Change of Position from Written Response – If your position regarding Centralization or
      the choice of transferee district has changed from the position set forth in your motion or
      written response to the motion or order, check the following box:

5.    Parties Represented – Indicate party name and state whether plaintiff or defendant. Attach
      list if more than one action:
      Plaintiff People of the State of New York by Eric T. Schneiderman, the Attorney General of the
      State of New York


6.    Short Case Caption(s) – Include District(s) and Civil Action No(s). Attach list if more than
      one action:
      Federal Trade Commission et al. v. Quincy Bioscience Holding Co., Inc. et al., No.
      1:17-00124-LLS (S.D.N.Y.)



7.    Name and Address of Attorney Designated to Present Oral Argument:

      Kate Matuschak
      ____________________________________________________
      Name

      New York State Attorney General, 120 Broadway
      ____________________________________________________
      Law Firm

      New York
      __________________________________________              _____
                                                               NY
      City                                                    State


      Telephone No.: _____________________________
                      (212) 416-6189

      Email Address: _______________________________________________________
                     kate.matuschak@ag.ny.gov




5/4/17
_______________      __________________________
                     Kate Matuschak                           /s/ Kate Matuschak
                                                              ______________________________
       Date                Printed Name                               Authorized Signature




                                                                                 JPML Form 9 (12/15)
